                    UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF ALABAMA

In re                                               Case No. 10-30631-WRS
                                                    Chapter 7
ALLEGRO LAW LLC,

             Debtor

CARLY B. WILKINS,

             Plaintiff                              Adv. Pro. No. 11-3007-WRS

    v.

AMERICORP INC., et al,

             Defendants

                                      ORDER

         The Court heard evidence in this Adversary Proceeding on Defendant

Timothy McCallan’s Motion to Determine Compliance with Civil Contempt Order

and for the Immediate Release from Incarceration (Doc. 787) on May 6-7, 2019.

On May 9, 2019, the Court heard closing arguments from counsel. The Court has

ordered counsel to file Proposed Findings of Fact and Conclusions of Law by June

7, 2019 and will take the motion under submission at that time. McCallan’s

motion for release in the interim is DENIED. The Court will rule on the Motion to

Determine Compliance and make findings of fact and conclusions of law after




 Case 11-03007      Doc 800   Filed 05/09/19 Entered 05/09/19 16:32:39   Desc Main
                               Document     Page 1 of 2
consideration of counsel’s proposed Findings of Fact and Conclusions of Law.

This is not a final order.

            Done this 9th day of May, 2019.



                                         United States Bankruptcy Judge


c: Steve Olen, Attorney for Plaintiff
   Lucy Tufts, Attorney for Plaintiff
   Michael A. Fritz Sr., Attorney for Defendant McCallan
   Scott Widerman, Attorney for Defendant McCallan




                                         2



 Case 11-03007     Doc 800   Filed 05/09/19 Entered 05/09/19 16:32:39   Desc Main
                              Document     Page 2 of 2
